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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION

      8:90CR111                               USA v. Lance Nevels
      8:92CR62 (Sealed)                       USA v. Jose Transito Chavez
      8:95CR133 (Sealed)                      USA v. Gabino Flores, Joseph James
                                              Bongiorno
      8:00CR268 (Sealed)                      USA v. Gregoria Bonilla-Salazar
      8:01CR285 (Sealed)                      USA v. Steven M. Tadlock
      8:02CR111 (Sealed)                      USA v. Clifford V. Campbell
      8:02CR205 (Sealed)                      USA v. Lora Bonfiglio
      4:02CR3113 (Sealed)                     USA v. Ramon Mendoza-Solano
      8:03CR7 (Sealed)                        USA v. John E. Ryan
      8:03CR498 (Sealed)                      USA v. Ivan Parker
      8:04CR48 (Sealed)                       USA v. Keith Anthony Pizarro
      8:04CR243 (Sealed)                      USA v. Troy Sampson




      DATED this 25th day of June, 2007.


                                              BY THE COURT

                                              s/Laurie Smith Camp
                                              United States District Judge
